
Ewing, C. J.
The scire facias issued in this case against Ava Neal, as garnishee, is essentially defective in not stating with sufficient certainty and precision, the nature of the property attached. As the garnishee may have occasion to avail himself of the recovery against him, for protection in .case of a subsequent demand or suit by the defendant in attachment, the nature of the property attached in his hands ought to be shewn with such precision as to afford him adequate means of protection, to enable him to plead and prove the proceedings under the attachment as a bar to another demand. The recital in the scire facias is that the constable had “ attached the rights and credits of William Curtis, in the hands of Ava Neal, to the amount of forty-five dollars.” No state of demand having been filed on the return of the *339scire facias, ho greater certainty is shewn. The expression 11 rights and credits” is of the most general character; and from it, the nature of the right, or credit, or property attached, cannot be learned. If the object attached was a debt or sum of money, due from Neal to Curtis, although the kind of evidence, whether note or bond, which was held by the defendant in attachment, might be unknown, and could not therefore be stated, yet that the object was a debt, might be as well understood and distinctly sot forth, as that there was any thing in the hands of the garnishee which could be made liable to the attachment. If it be said, the recital in the scire facias, js as explicit as the inventory returned with the attachment; the fact being so, shews that the im'entory itself was defective, and that nothing is to be found in any other part of the proceedings to supply the defect of the scire facias.
The other justices concurred.
.Judgment reversed
